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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________

EDWARD BANKS, et al.,

              Plaintiffs-Petitioners,

       v.                                        No. 1:20-cv-00849 (CKK)

QUINCY BOOTH, in his official capacity
as Director of the District of Columbia
Department of Corrections, et al.,

            Defendants-Respondents.
____________________________________

                           DECLARATION OF JEAN JOHNSON

1. My name is Jean Johnson. I am competent to make this declaration and I make these statements

   based on personal knowledge.

2. I work as a clerical assistant for the D.C. Department of Corrections (DOC) and have an office

   in the Correctional Treatment Facility (CTF). I have held this position since May 2019.

3. This March, I reported to work all but three days until March 18, 2020. That evening, after

   reflecting on the lack of preparedness at the CTF and the way DOC responded to past health

   emergencies, I realized that I could not go back to the facility. I began using sick leave on

   March 19, 2020. My sick leave expired on March 26, 2020 and I started on unpaid leave that

   day. Now that I am not earning income, I am scared about my ability to afford basic

   necessitates. But I am more afraid of the risks to my life and health that come from continued

   work at the CTF.

4. DOC does not respond well to medical emergencies in the best of times. On three occasions

   since December 2019, including two since late January 2020, I saw staff or inmates fall to the

   ground from heat, exhaustion, or a medical condition and noticed that they did not receive
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   medical attention for nearly fifteen minutes.

5. The start of the covid-19 crisis did not bring increased urgency. For example, on March 13, I

   brought a mask to work to protect myself from the virus. A correctional officer told me not to

   wear the mask because it might scare the inmates. Before I ceased coming to the facility on

   March 19, I did not see any other staff or inmates wearing masks or protective gowns.

6. I have concerns about the general hygiene at CTF. The building has a strong odor and mold

   covers many surfaces.

7. The only individuals I have ever seen clean the facility are inmates and I have never seen them

   receive any training or instruction on how to sanitize effectively. I have never seen an inmate

   wear a protective mask or a gown when cleaning.

8. DOC officials have made it difficult for me and my colleagues to contribute to social distancing

   efforts. On March 31, 2020, I asked my supervisor if I could work from home. My supervisor

   said that DOC “is not a teleworking agency” and that it would not allow employees in my

   position to work remotely.

9. My duties consist of entering data and organizing optional programs. Although programmatic

   work requires me to be at the facility, it is my understanding that DOC has cancelled optional

   programs in light of the covid-19 crisis. As for the data entry, this work could easily be done

   from home. It is my understanding that DOC has the technological capacity to allow employees

   to access administrative systems remotely and has a stockpile of laptops with those systems

   loaded onto them. If the Department allowed me to borrow such a laptop, or instructed me on

   how to connect to those systems through my personal computer, I could work from home

   without any problems.

10. Each time staff members enter the facility, they may bring traces of the virus inside. Those




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   particles will spread easily. For example, staff members must place their bare hands on a

   biometric scanner to clock in when they start work. Walking through corridors often requires

   passing through a set of secure doors. When staff members pass through one door, they must

   press a button and wait for a central control to open the second, they often stand in small groups

   in a narrow space, with little distance between them. Similarly, inmates and staff can only

   move through individual housing units via three elevators (the staircases are locked), and each

   elevator is no larger than a queen-sized bed.

11. These and similar features of the facility make it easy to for the virus to spread from person to

   person and makes DOC’s refusal to allow more employees to work from home deeply

   disturbing.


I, Michael Perloff, certify that I have read the foregoing to Ms. Johnson and that she affirmed
that the foregoing is true and correct on April 3, 2020. I declare under penalty of perjury that the
foregoing is true and correct.

Dated: April 4, 2020                          /s/ Michael Perloff
                                              Michael Perloff
                                              American Civil Liberties Union Foundation
                                                of the District of Columbia
                                              915 15th Street NW, 2nd Floor
                                              Washington, D.C. 20005




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